Case 1:13-cv-01098-JTN-ESC ECF No. 1 filed 10/04/13 PagelD.1 Page 1of1

UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN

FILED - KZ

Melindia Jackson Case No: October 4. 2013 4:20 PM
P.O. Box 305 Hon. TRACEY CORDES, CLERK
Allegan, Michigan 49010 ISTRICT COURT
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Register Agent/ CT Corporation het Now
30600 Telegraph Rd Suite 2345 Janet T. le
Bingham Farm, MI 48025 U.S. District Judge

For |
IDS Property and Casualty Insurance Co Bn
3500 Packerland Drive
De Pere, Wisconsin 54115
Defendant

Telephone 1800 872-5246

Complaint
I
Plaintiff lives in Allegan County Michigan. Defendant place of business and Corporation is in another
states. Plaintiff has file a claim against defendant based on Discrimination under the Elliot Larson Act
453 of 1976. Based on Disability , sex, and race.

1. Plaintiff has been treated differently than other that have claims with the insured
company. Claim1122887C201 and Clam S - /4- //

2.. After meeting with plaintiff locally in December of 2011. Defendants of IDS
Property and casualty insurance also known as aka/Amerprise Auto and Home
Insurance in claims department employees Michelle Daniels, Gina Knuth, Stacey Bartz,
and Thomas Boogard; begin to harass, threaten with claim of being

denied claim service try to entrapment plaintiff. Defendants has did these acts with
malice and intent.

3. Also harassment with making slanderous and libel claim of plaintiff being a OPID
user which is false; plaintiff has never had a history now or before of ever user Heroin
or any other illegal substances.

4. Defendants have cause harm to plaintiff for possible future employment because of
liberal and slanderous act had been enter into her MIB record which is false and untrue
Defendant knew this because Defendants of said Business and Corporation had been
working with Plaintiff on claims up last to contact in May of 2013.

5. Plaintiff have tried in the past to resolve this whole issue.

6. Plaintiff Request a award of damages in the amount of $500.000.00

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